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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


  JUUL LABS, INC.,

                     Plaintiff,
                                               Civil Action No 3:22-cv-01399 (SRU).
  v.
  SMOKE TOKE LLC,

                     Defendant.




                          NOTICE OF VOLUNTARY DISMISSAL

       NOW COMES Plaintiff Juul Labs, Inc., who, having reached a settlement with the
Defendant, and pursuant to F.R.C.P. 41(a)(1)(A)(i), hereby dismisses the above Civil Action
against Defendant with prejudice.
                             Respectfully,
                                    JUUL LABS, INC.
                                    Plaintiff

                                         By /s/ JOHN C. LINDERMAN
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                                CERTIFICATE OF SERVICE


       I hereby certify that on April 14, 2023, a copy of foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the Court’s electronic filing system or by
mail or process to anyone unable to accept electronic filing as indicate on the Notice of
Electronic Filing. Parties may access this filing through the Court's CM/ECF System.


                                          _/s/ John C. Linderman
                                            John C. Linderman
